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UNDE ARMOUR, INC.; FINISH LINE INC.;
FOOT LOCKER INC.; NORDSTRGM, fNC.;
DICK’s SPORTl’NG GOODS INC.; CHAMPS
SPORTS~ SPoRT cHALET 1’NC¢
AMAZON.COM INC.; zAPPOS fP rNc.-
BACKC()UNTRYCQM INC.- ROGAN’§
SHOES INC.- ROAD RUNNER SPORTS
RETAI£ INC’.~ MONKEYSPGRTS, INC.~
HoLABiRD Si>ORTS, LLC; EASTBAY, iNC.

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§§ 13 UNITED sTATES DISTRICT CoURT
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§§ 14 CENTRAL DISTRICT OF CALIFORNIA
§ 15 GRA_VITY DEFYER CORPORATION, cAsE No. cv13-01842 JAK (Jcc;x)
< a Cahforma corporatlon,
16 Magistrate Judge J ay C. Gandhi
Plaintiff,
17 DISCOVERYMATTER
v.
18 JOINT STIPULATION RE:
UNDER ARMOUR, INC., et al., MOTION TO COIVIPEL
19 RESPONSES TO DEFENDANTS’
Defendants. RE UESTS FOR ADMISSION
20 AN INTERROGATORIES
21
UNDER ARMOUR, INC., et al., DATE: Se tember 10, 2013
22 _ TIME: 2: 0 p.m.
Counter-Clalmants, PLACE: Qg)unroom A
23 8 Floor-Spring Street
v.
24 Discove Cut-off: 1/31/14
GRAVITY DEFYER_ CORPORATION, Pre-Tria Conf: 6/30/ 14
25 a California corporatlon, Trial Date: 7/ 1514
26 Counter-Defendant. Complaint Filed: March 14, 2013
27
28

 

Rcln054578_3/KTK JOlNT ST\PULAT|ON RE REQUESTS FOR ADMlSSION
AND lNTERROGATORlES

 

 

 

 

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Plaintiff GRAVITY DEFYER CORPORATION (“Gravity”) and defendant
UNDER ARMOUR, INC. (“Under Armour”) submit the following Joint
Stipulation pursuant to Local Rule 37-2, in connection with Under Armour’s k
Motion to Compel Responses to Request for Admission and Interrogatories.

' INTRODUCTIONS
Under Armour’s Introduction:

Gravity claims the trademark “G Defy.” One of Under Armour’s registered
trademarks is MICRO G®. Under Armour began selling a footwear product of the
name UA MICRO G® DEFY, often with additional wording depending on the
particular model of the footwear. Variations that incorporate that or similar
wording and/or symbols appeared on websites not controlled by Under Armour.
For example, on its own web site Under Armour uses UA MICRO G® DEFY
without Under Armour’s H symbol; on other websites, the federally registered
mark UNDER AMROUR may be included as part of the name or product
description, and the mark “UA” might not appear; on other websites, both of the
federally registered marks “UNDER ARMOUR” and “UA” may be included in the
product name or product description, and the H symbol may also appear

Gravity has sued Under Armour and 14 retailers for trademark infringement
The sin quo non of trademark infringement is a likelihood of confusion In this
case, according to Gravity’s complaint and other papers filed to date, the nature of
the alleged likelihood of confusion is from intemet search results. Gravity
complains that when the term “g defy” was entered in the search box in a' search
engine, such as Google, Bing, and Yahoo, results included the Under Armour
product.

Defendants counterclaimed to cancel Gravity’s trademarks based on false
advertising That false advertising is also a basis of the affirmative defenses of

estoppel and unclean hands.

 

 

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The discovery that is the subject of this Joint Stipulation and motion relate to
both Gravity’s infringement claim against the Defendants and Under Armour’s
counter claims. Though not at the time specifically directed to damages
(Defendants had flled a motion to bifurcate damages), some of the discovery is also
relevant to damages, and bifurcation has now been denied.

Gravity’s objectionable responses are symptomatic of its failure to comply
with the Federal Rules. Since the parties’ planning conference on May 17, 2013,
Gravity has failed to comply with Rule 26(a)(1)(A)(iii) of the Federal Rules of
Civil Procedure to provide a computation of each category of damage it claims.

On July ll, 2013 (a Thursday) Under Armour sent a letter pursuant to Local
Rule 37-1 to Gravity counsel requesting a conference within ten days, as required
by the Local Rule. Counsel was known to be out of town on vacation, so the letter
was sent by regular mail so that it would more-or-less coincide with his expected
return by the following Monday. It is presumed received. During the next ten days
Gravity did not respond-~at all: it did not say when it would meet, it did not offer
an excuse why it could not meet within the time required by local rule, it did not
represent that it would fully respond to the discovery.

If it need be said, Gravity did not meet and confer within the ten days
required by Local Rule 37-1. (Even if the ten days to meet is counted from
counsel’s return, on or about July 15, there was no response and, most importantly,
no meeting.)

Undoubtedly Gravity will attempt to lay blame on Under Armour for not
reminding him or chasing after him to confer, or some other reason. lt should not
be incumbent on one proceeding under Local Rule 37-1 to hold the opponent’s
hand and make him/her comply with the rules of this court.

Since there was no meet and confer, Under Armour had no opportunity to

 

 

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AND INTERROGATORIES

 

 

 

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make a proposal to resolve each issue without court intervention k
/ / /

The court has set an “aggressive” schedule for this case_non-expert
discovery presently closes January 31, 2014. Delay by Gravity cannot be tolerated
Gravity Defyer’s 'Introduction:

Plaintiff owns the federally registered trademarks G DEFY® (in use since
2009) and GRAVITY DEFYER® (in use since 2006) for specialty shoes with
springs built into trampoline-like heels. Plaintiff uses print advertising to get
customers to type its marks into search engines to find its website for online sales.

Last year Under Armour, and through'its many retailers, began selling shoes
with special impact-resistant soles under the brand name “Micro G Defy.” The
result was, for several months, when customers typed “G Defy” into search engines,
numerous Micro G Defy shoes came up and Gravity Defyer was virtually invisible
on the Internet. When the lawsuit was filed and after conferring on a preliminary
injunction motion, Defendants agreed to phase out all use of “G Defy” in their
business affairs. This case is now primarily about Plaintiff being reasonably
compensated for the lost traffic and lost sales.

That Under Armour included its house mark does not support them escaping
liability for the infringement which occurred. Trademark law is otherwise Adding
the house mark may merely suggest to customers that Plaintiff licensed Defendant

or that the parties are affiliated in some other way. l And Defendants’ counterclaim

 

' Trak, Inc. v.'Benner Ski KG, 475 F. Supp. 1076 (D. Mass. 1979) (Junior user’s addition
of its house mark did not prevent likely confusion: “The presence of ‘Benner’ on the ski
might suggest to the consumer that Benner somehow is licensed to do business by Trak.”); Banj§
Ltd. v. Federated Dep 't (23-22-) Stores, 638 F. Supp. 552 (S.D.N.Y. 1986) ajf"d in part and rev 'd
in part, remanded, 841 F. 2d 486 (2d Cir. 1988) (defendant’s use of its company name does not
generally excuse infringement and might even increase confusion by linking defendant’s house
mark to plaintiff s good will, since consumers might think that there was a licensing agreement
between the parties); International Kennel Club, Inc. v. Mighty Star, Inc., 846 F. 2d 1079 (7th
Cir. 1988) (argument that addition of defendant’s house mark prevents likely confusion is a
“smoke screen” and a “poor excuse for blatant infringement because customers are likely to think

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to cancel Plaintiff’s registrations based on alleged false advertising fails to state a
claim.

Defendants brought a motion to bifurcate liability and damages, claiming
Plaintiff was unlikely to succeed on liability such that damages calculations
wouldn’t be necessary for the several Defendants, all being represented by Ropers
Majeski. Basedthereon, after being granted multiple extensions, on July 3rd
Defendants’ attorneys refused to properly respond to Plaintiff’ s existing first
discovery requests (served May 17, 2013) on all interrogatories and document
requests related to damages For example:

Insofar as this request asked for a number of units, Defendant objects

to this Interrogatory as premature A motion to bifurcate infringement

and damages, including for discovery, is filed. Defendant will respond

at an appropriate time after the court rules on the motion to bifi,ircate,

and then only after a mutually acceptable protective order is entered.

The Protective Order Was entered July Z"d. v

On July 22, 2013 the Court denied Defendants’ bifurcation motion, finding it
was inefficient to proceed in the mannersought by Defendants, potentially
requiring two discoveries and two trials. Despite the motion being denied weeks
ago, Defendants have yet to provide proper discovery requests or responsive
documents, and hence Plaintiff has sent Rule 37 letters to Defendants and requested
a meet-and-confer.

On July 25th the parties also held an early mediation at JAMS before retired
Judge Schiavelli which was unsuccessful. And the next day following the failed

 

that the plaintiff had licensed, approved or otherwise authorized the defendant’s use of the
mark”); In re Toshiba Medical Systems Corporation, 91 U.S.P.Q. 2d 1266, 2009 WL 1745898
(T.T.A.B. 2009) (VANTAGE TlTAN for medical MRI diagnostic apparatus is likely to cause
confusion with previously registered TITAN for medical ultrasound device. Addition of a house
mark VANTAGE would be likely to convey the message that this was another product from
TITAN). v

 

 

JO|NT S'I`lPULATlON RE REQUESTS FOR ADMISS[ON

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mediation, Defendants reneged on their agreement to stipulate to an amended
complaint, and refused to agree to hear the motion for leave before the next
available hearing date of October 10"°. Hence Plaintiff was forced to file a motion
for leave to amend and an ex-parte application, which remain pending The reason
Defendants admit they “reneged” is because Plaintiff was not dismissing small~
volume Defendants fast enough, despite not having received verified interrogatory
responses as to their sales. The second-amended complaint adds a cause of action
for infringement of common law, unregistered marks (if the registrations are -
cancelled) and deletes the prayer for relief of an injunction (given Defendants
phased out use of G DEFY). l

At the scheduling conference, the same day the bifurcation motion was
denied, Defendants proposed a schedule with the trial about a year after the date
proposed by Plaintiff Defendants’ schedule was rejected and instead Plaintiff’s
schedule was adopted for the case, While much of the above may be considered
unnecessary background, Plaintiff includes the same in response to the lengthy
introduction submitted by Defendants.

This joint stipulation concerns Defendants’ complaints about select discovery
responses made by Plaintiff. Given the bifurcation motion and the mediation,
Plaintiff’ s attorneys were unable to timely respond to their July llth letter, and
hence on July 29‘h, immediately after the mediation, received the joint stipulation
for input. As per below, Defendants’ make no showing warranting an order to
compel discovery. Plaintiff’s positions are reasonable, and where there is any
question a supplemental response is offered.

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Under Armour is moving pursuant to FRCP Rule 36 for a determination that

the objections to these requests are insufficient and that the following matters be

deemed admitted

 

 

5 JOlNT STIPULATION RE REQUESTS FOR ADMISS!ON

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REOQ_EST FOR ADMISSION NO. l:

Adrnit that YOUR G DEFY shoes are not good for running.
RESPONSE TO REQUEST FOR ADMISSION NOi 1:

Gravity Defyer objects to this request as vague and ambiguous, in that the
meaning of the term “good” is unclear and undefined. Accordingly, Gravity Defyer
denies the request.

Under Armour’s position:

The word “good” is common and has a common understanding It is defined
in Webster’s New Collegiate Dictionary 10th Edition: “of` a favorable character.”
On the remote chance that Gravity does not understand the meaning of “good,”
Gravity no doubt has a dictionary readily available (either online or in print).

Gravity’s sales are conducted on the intemet, and it is complaining based on
what it claims to be the results of matter on the internet, so it can be said with a fair
amount of confidence that Gravity has an online dictionary readily available.

Further, document bates numbered UA00093 includes an intemet post by one
who identified itself/himself/herself as “Gdefy” and states that the “gdefy shoes are
not great running shoes.” That post includes a URL www.gdefy.com. lf Gdefy
knows that the shoes are not great, it knows the meaning of “good” (“good” is not
as favorable as “great”) and whether the shoes are or are not good for running.

Further, the president of Gravity is, on information and belief, the founder or
other executive of the Impact Research Technology Group. According to Mr.
Elnekaveh’s Website biography, he heads a team of experts and invented the
Gravity Defyer footwear (the subject of the disputed trademark). He surely knows
if his own product is good for running.

Gravity’s position:

Plaintiff stands on the objection and denial. The term “good” is a matter of

opinion, not fact. Should a supplemental response be required to clear up any

 

 

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ambiguity as to the response, Plaintiff is prepared to make the same in denying the
request. Given a runner may sprint on the balls of his or her feet, having springs
and a special heel design will not make the shoes bad for running l

Any added weight for the springs is negligible Plaintiff believes the
remainder of the shoe including the forward portion of the sole is as good or better
than Defendants’ shoes. The special heels may come into effect for slower running
such as jogging, and for walking And this case is about trademark infiingement

and damages, not which party has the best shoes.

UNDER ARMOUR’S INTERROGATORIES TO GRAVITY

Under Armour is moving to compel Gravity to respond, fully and completely
to the following interrogatories:
INTERROGATORY NO. 1:

Identify each and every PERSON (whether a consumer or a reseller) that has
bought any shoes which are associated with the G DEFY mark.
RESPGNS_E_`. TO INTERROGATORY NO. 1:

Gravity Defyer objects to this interrogatory as seeking irrelevant information
with little or no probative value. Gravity Defyer objects to this interrogatory as
seeking highly-confidential, trade secret information of Plaintiff, and the risk of
competitive harm to Plaintiff is great. Subject to and without waiving said
objection, upon a suitable protective order being entered, Gravity Defyer will
produce confidential documents identifying its resellers or distributors

Under Armour’s Position:

Gravity purported to restate Interrogatory No. 1, but what it wrote was not
the Interrogatory No. l that was served. It appears to be a response, but to what?
This is a matter that could easily have been resolved by a simple return phone call,

let alone a conference per Local Rule 37-1, but Gravity counsel ignored Local Rule

 

 

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37-1 and did not bother to meet and confer as required, or even to send a simple
email message to clear it up.

The response that is identifiable as a response to Interrogatory No. l evades
the most important part of the interrogatory-consumers Their identity is relevant
to contact them to find out how they went to the Gravity web site to purchase-
whether through paid search, natural search, no search at all, etc.

A protective order is in place The objection for confidential information
may be summarily disregarded The protective order was entered on or about July
l, 2013. Gravity’s response to this interrogatory is dated July 3, 2013_it may have
prepared the response before notice that the protective order was entered, but it has
not supplemented its response in this regard. Had Gravity counsel conferred as
required by Local Rule 37-1 Defendants would have pointed that out.

If Gravity is claiming damage from loss of repeat sales-which it appears
from its categories of damage it might be claiming_the purchasers who made
repeat sales is most certainly relevant, and it includes consumers In order to track
repeat sales, the identity of each purchaser is necessary. Defendants had not
requested sales by each individual, but now that bifurcation is denied Defendants
are requesting that information

The identity of each consumer that purchased and did not make repeat
purchases is also calculated to lead to admissible evidence that contradicts a claim
for lost repeat sales.

The information is also calculated to lead to admissible evidence that
Gravity’s claims are false. It is also calculated to lead to admissible evidence that
consumers did not repurchase even though not confused.

Without the identities of all purchasers, we cannot interview purchasers to
obtain relevant information “Identify” is a defined term: provide the PERSON’s

name, last known business and residence address and last known business and

 

 

JO|NT STlPULATlON RE REQUESTS FOR ADMISSION

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residence telephone numbers and their relationship to you.

Gravity’s Position:

Gravity Defyer has a customer list which includes multiple hundreds of
thousands of names. Gravity Defyer does not want its valuable customer list
misappropriated, or its customers harassed by Defendants. Gravity Defyer has data
as to its repeat customer rate. Defendants can verify same by sampling the data
base. Undoubtedly Defendants have much larger customer databases, in the
millions of customers lt is very unlikely Defendants will be willing to turn over
their customer information to Plaintiff, for example, to find out if they were
confused, or may have thought that Gravity Defyer and Defendants had some sort
of relationship since Defendants were selling G Defy shoes. As to proving
conhision or not, in trademark cases that is typically done by mall surveys or the
like, and Defendants have indicated they intend to employ such a survey expert.
Defendants have stated no grounds to entitle them to Plaintiff"s entire customer list.
INTERROGATORY NO. 6:

State in full and complete detail, with the utmost particularity the
circumstances in which YOU first became aware of the use by Under Armour of its
Micro G® trademark For the avoidance of doubt, “full and complete detail, with
the utmost particularity” includes, without limitation, when YOU first became
aware, how YGU became aware, and the IDENTITY of each PERSON employed
by or otherwise associated with YOU who first became aware,

RESPONSE T0 INTERROGATORY NO. 62

Gravity Defyer objects to this interrogatory as seeking irrelevant information,
in that Under Armour’s Micro G® mark is not at issue in this litigation

Under Armour’s Position:

Under Armour agrees that its MICRO G mark is not an issue in this

litigation But Gravity keeps making it an issue. The interrogatory simply asks

 

 

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when Gravity became aware of that mark.

Gravity’s Position:

Again Gravity Defyer asserts the information sought is not relevant or
discoverable But upon further consideration and to avoid any needless dispute
Gravity is willing to serve a supplemental interrogatory response, stating it first

///

became aware of the Micro G mark and that it was registered on or about March 8,
2013.

INTERROGATORY NO. 7 :

If YOU are aware of any COMMUNICATION, whether directly to you or on
the intemet or in any form of social media, from a PERSON who has expressed a
fact or an opinion that is contrary to YOUR claims, slogans or testimonials about
the nature, characteristics or quality of the good(s) in connection with which the G
DEFY mark is used, state in full and complete detail, with the utmost particularity
all information regarding each communication For the avoidance of doubt, “full
and complete detail, with the utmost particularity” includes (without lirnitation) the
substance of the communication, the IDENTITY of the PERSON making the
communication when the communication was made, any response (whether
written oral or electronic) YOU made to the communication and the IDENTITY
of each PERSON having knowledge of the communication and response
RESPONSE TO INTERROGATORY NO. 7 :

Gravity Defyer objects to this interrogatory as overly broad in that it is
unlimited as to time Gravity Defyer also objects to the extent any of the
information sought is protected from compelled disclosure by attorney-client or
work product privileges Within the past three (3) years, Gravity Defyer and every
company has negative statements made about it on the intemet, but we can in no

way substantiate the authenticity or motives behind those comments and the people

 

 

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who make them, but we do of course realize that they exist.

Under Armour’s Position:

The interrogatory is not overbroad as to time. According to the PTO web
site, YOUR first use was in March, 2009, so the time is no farther back than that.

But the bigger point is that the time period does not matter. In fact, the older
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the information the more relevant and appropriate it. One does not gain trademark
rights from an unlawful use of the mark. CreAgri, Inc. v. USANA Health Scis., Inc.,
474 F.3d 626, 630 (9th Cir. Cal. 2007).

The earlier Gravity began its unlawful use-false advertising---the less rights
it has and the greater its unclean hands The question relates to Gravity’s claims
about its shoe, regardless of when the claim was made The information (even 4
year old information) is likely to lead to admissible evidence that the claims are
false All communications that express anything contrary to its claims about the G
DEFY shoe are relevant and appropriate There is no objection for relevance

The interrogatory does not ask Gravity to substantiate or authenticate or
identify the motives behind the comment or the people that made them, That
objection is a “strawman.” The information requested may lead to admissible
evidence that contradict Gravity’s claim that the shoe is comfortable and/or relieves
pain It may also lead to admissible evidence why people did not buy the Gravity
product Gravity acknowledges such comments exist; it can and should answer the
interrogatory, fully and completely.

An objection for attorney-client and work-product privilege is disingenuous
The question is regarding communications from and to third parties Even if an
attorney communicated back to the third party, the communication is not privileged

Gravity’S Position:

 

 

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AND lNTERROGATORlES

 

 

 

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Whether the shoe is comfortable or not will always be a matter of opinion lf
the shoes were uncomfortable, Gravity Defyer’s sales would not be growing as it
was, except during the time Defendants infringed its G DEFY® trademark Gravity
Defyer does not advertise that its shoes eliminate pain although some pain relief
may be experienced by wearers given the shock-absorbing sole As per Gravity’s
objection there are many reviews, both pro and con on the Intemet accessible to
all. To identify those reviews and the writers would be a huge administrative task
and an impossible one given most of the reviews are posted anonymously and/or
the reviewer’s identity is inaccessible to Gravity Defyer. And there will always be
differences of opinion, Each person will have a different experience wearing the
shoes Sizing may be incorrect. Some will engage in running but for most they
will be walking shoes lf Under Armour finds twenty persons who didn’t like the
shoes, and Gravity Defyer finds forty persons who loved the shoes, what Will be
gained? It is unlikely the court will allow such persons to testify. And Gravity
Defyer does not want its customers harassed by Defendants’ attorneys

Defendants are also incorrect about the attorney-client privilege not
potentially applying, in that an attorney could have expressed to Gravity a concern
about the advertising in the course of communicating with Gravity and rendering
legal advice The request as written is not limited to third parties as Defendants
argue
INTERROGATORY NO. 8:

If YOU are aware of any COMMUNICATION, whether directly to you or on
the intemet or in any form of social media, from a PERSON who has expressed a
fact or_ an opinion that is contrary to YOUR claims, slogans or testimonials about
the nature, characteristics or quality of the good(s) in connection with which the
GRAVITY DEFYER mark is used, state in full and complete detail, with the

utmost particularity all information regarding each communication For the

 

 

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AND lNTERROGATORIES

 

 

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avoidance of doubt, “full and complete detail, with the utmost particularity”
includes (without lirnitation) the substance of the communication the IDENTITY
of the PERSON making the communication when the communication was made,
any response (whether written oral or electronic) YOU made to the
communication and the IDENTITY of each PERSON having knowledge of the
communication and response

RESPONSE TO INTERROGATORY NO. 8:

Gravity Defyer objects to this interrogatory as overly broad in that it is
unlimited as to time Gravity Defyer also objects to the extent any of the
information sought is protected from compelled disclosure by attorney-client or
work product privileges Within the past three (3) years, Gravity Defyer and every
company has negative statements made about it on the intemet, but we can in no
way substantiate the authenticity or motives behind those comments and the people
who make them, but we do of course realize that they exist.

Under Armour’s Position:

The interrogatory is not overbroad as to time According to the PTO web
site, YOUR first use was in October, 2006, so the time is no farther back than that.

But the bigger point is that thetime period does not matter. In fact, the older
the information the more relevant and appropriate it. One does not gain trademark
rights from an unlawful use of the mark. CreAgri, Inc. v. USANA Health Scis., Inc.,
474 F.3d 626, 630 (9th Cir. Cal. 2007)

The earlier Gravity began its unlawful use-false advertising_the less rights
it has and the greater its unclean hands The question relates to Gravity’s claims
about its shoe, regardless of when the claim was made The information (even 4

year old information) is likely to lead to admissible evidence that the claims are

y false All communications that express anything contrary to its claims about the G

DEFY shoe are relevant and appropriate There is no objection for relevance

 

 

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AND INTERROGATORIES

 

 

 

 

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The interrogatory does not ask Gravity to substantiate or authenticate or
identify the motives behind the comment or the people that made them. That
objection is a “strawman.” The information requested may lead to admissible
evidence that contradict Gravity’s claim that the shoe is comfortable and/or relieves
pain. It may also lead to admissible evidence why people did not buy the Gravity
product. Gravity acknowledges such comments exist; it can and should answer the
interrogatory, fully and completely.

An objection for attorney-client and work-product privilege is disingenuous
The question is regarding communications from and to third parties Even if anv
attorney communicated back to the third party, the communication is not privileged

Gravity’s Position:

This interrogatory is nearly identical to no. 7, the GRAVITY DEFYER®
mark being substituted for the G DEFY® mark. Gravity Defyer uses GRAVITY
DEFYER® as its house mark, and for its dress shoes which are not the subject of
this lawsuit, while G DEFY® is used on its sports shoes at issue here Defendants’

position is the same as for interrogatory 7. Plaintiff’ s position is the same as well.

Respectfully submitted,

 

 

_ 14 _ JO|NT STlPULATlON RE REQUESTS FOR ADMlSSlON

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Dated: August §§ , 2013

Dated.: August ij , 2013

ROP`ERS, MAJ`ESKI, KOHN & BENTLEY

By:

 

ALI;AN EY/ANDER_SON

ARNOLD E. SKLAR
,ALAN J. HART

Attorneys for Defendants/Counter~
Claimants UNDER ARMOUR, lNC._;
FINISH LINE, INC.; FOOT LOCK.ER,
iNC.; NGRDSTROM, INC.; DICK’S
SPORTING GOODS, lNC.; Cl-lAl\/IPS
SPORTS; SPORT CHALET, INC.;
AMAZON.COM, INC.; ZAPPOS lP,
lNC.; BACKCO(UNTRY.COM,{JNC.;
ROGAN’S SHOES, I,NC.; ROAD
R,lJNNER SPORTS RETAIL, INC.;
M_ONKEYSPORTS, INC.;
HOLABIRD SPORTS, LLC;
EASTBAY, INC.

LAUSON & VER LLP

    

B' iM/M-` i‘\e

 

' RonER'ri§\tsAUsoN,EsQ. \
Attorne for Plaintiff
GRAv Y DEFYER coRPoRArioN

 

 

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~ 15 _ JO!NT STU’ULA'!`ION RE REQ\,§ESTS l~`()R ADMISSION
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